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  8                                UNITED STATES DISTRICT COURT
  9                             SOUTHERN DISTRICT OF CALIFORNIA
 10    UNITED STATES OF AMERICA,                                   CASE NO. 03CR2434 JM
                                             Plaintiff,
 11            v.                                                  ORDER GRANTING EX PARTE
                                                                   APPLICATION TO AMEND
 12    RALPH INZUNZA, et al.,                                      PRIOR ORDER; AMENDMENT
                                          Defendants.              TO APRIL 2, 2007 ORDER
 13
 14
 15          Defendant Michael Zucchet moves to modify certain language contained in this court’s

 16   April 2, 2007 Order Denying Ralph Inzunza’s Motion for New Trial (“Order”). Defendant Zucchet

 17   argues that the following phrase mischaracterizes the evidentiary record in this case, “the proffered

 18   evidence contradicts Zucchet’s earlier statements to the FBI.” (Order at p.7:24-25). The court grants

 19   the motion to modify this phrase because the court structured the phrase as an assertion of fact when

 20   no such factual assertion was intended by the court.

 21          Accordingly, in order to prevent confusion, the court deletes the sentence containing the

 22   challenged phrase and replaces it with the following: “While impeachment evidence is material, the

 23   Government characterizes the Form 302 notes of the F.B.I. interview of Zucchet as being ‘at odds,’

 24   (Gov’t Response at p.29:5), with the declaration.” In all other respects, the Order remains unchanged.

 25          IT IS SO ORDERED.

 26   DATED: April 17, 2007

 27
                                                               Hon. Jeffrey T. Miller
 28                                                          United States District Judge
      cc: All Parties

                                                                                                          03cr2434
